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                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

LEAGUE OF WOMEN VOTERS
OF FLORIDA, INC., et al.,

       Plaintiffs,

v.                                             Case No.: 4:21cv186-MW/MAF

CORD BYRD, et al.,

     Defendants.
___________________________________/

       ORDER GRANTING PLAINTIFFS’ MOTION TO DETERMINE
                    ENTITLEMENT TO FEES

       This Court has considered, without hearing, the League Plaintiffs’ (hereinafter

“Plaintiffs’ ”) motion to determine entitlement to fees. ECF No. 770. The Secretary

of State filed a response in opposition, ECF No. 774, which the Attorney General

joined, ECF No. 775. Plaintiffs then filed a reply. ECF No. 781. For the reasons that

follow, Plaintiffs’ motion is due to be granted.

                                           I

       Before addressing the substance of Plaintiffs’ motion for fees, a brief

procedural history is necessary. Plaintiffs, along with several other groups and

individuals in related cases, sued to enjoin various state actors from enforcing new

election laws as amended by Florida Senate Bill 90 (“SB 90”). Specifically, Plaintiffs

sought a permanent injunction (1) prohibiting the Secretary and the Attorney General
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from enforcing the Registration Disclaimer provision against them; and (2)

prohibiting the Secretary and Defendant Supervisors of Elections from enforcing SB

90’s Solicitation Definition. As to Plaintiffs’ challenge to the Solicitation Definition,

this Court dismissed Plaintiffs’ claim against the Secretary for lack of standing

because the Secretary did not enforce the provision—the Defendant Supervisors did.

See ECF No. 274 at 25. Nevertheless, the Secretary then moved to intervene to

defend this portion of the law because he was concerned about the Defendant

Supervisors’ willingness to do so, see ECF No. 337-1 at 8, and this Court granted

the Secretary’s motion. Following a bench trial before this Court, Plaintiffs won a

permanent injunction on both their challenge to the Registration Disclaimer

provision and the Solicitation Definition. See ECF No. 665.

      On appeal, the Eleventh Circuit vacated the injunction directed at the

Secretary and Attorney General’s enforcement of the Registration Disclaimer

provision as moot because the Florida Legislature repealed the challenged provision

during the pendency of the appeal. League of Women Voters of Fla. Inc. v. Fla. Sec’y

of State, 66 F.4th 905, 951 (11th Cir. 2023). The Eleventh Circuit upheld the

permanent injunction prohibiting the Defendant Supervisors of Elections from

enforcing SB 90’s Solicitation Definition. Id. at 948.

      With the relevant procedural history established, this Court turns to the

substance of the motion. Plaintiffs’ motion for fees and costs boils down to two


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questions: (1) whether the Florida Legislature’s repeal of the challenged Registration

Disclaimer provision while this case was on appeal deprives Plaintiffs of prevailing

party status under section 1988; and (2) whether the Secretary of State’s status as an

intervenor immunizes him from liability for section 1988 fees on Plaintiffs’

Solicitation Provision challenge. The answer to both questions is “no.”

                                          II

      First, Plaintiffs’ prevailing party status on their Registration Disclaimer

provision challenge. Absent the Florida Legislature’s repeal of the Registration

Disclaimer provision that mooted this case on appeal, Plaintiffs’ prevailing party

status would be obvious—they won a permanent injunction on this claim at the

district court level. But the Secretary and the Attorney General claim that because

this legislative repeal prompted the Eleventh Circuit to vacate the permanent

injunction on this provision under United States v. Munsingwear, Inc., 340 U.S. 36

(1950), Plaintiffs are not prevailing parties under section 1988. ECF No. 781 at 2.

      Under section 1988, district courts have the discretion to award fees to

litigants if it determines that they “succeeded on any significant issue in litigation

which achieved some of the benefit the parties sought in bringing suit.” Thomas v.

Bryant, 614 F.3d 1288, 1294–95 (11th Cir. 2010) (quoting Tex. State Teachers Ass’n

v. Garland Indep. Sch. Dist., 489 U.S. 782, 791–92 (1989)). “The touchstone of the

prevailing party inquiry must be the material alteration of the legal relationship of


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the parties . . . .” Tex. State Teachers Ass’n, 489 U.S. at 792–93.

      While the Eleventh Circuit has not squarely addressed whether Munsingwear

vacatur deprives a party of prevailing party status under section 1988, it has

addressed a similar issue. In Thomas v. Bryant, an inmate who succeeded in winning

a permanent injunction at the district court level died while the case was on appeal,

rendering the case moot. 614 F.3d at 1294. The Eleventh Circuit held that even

though the permanent injunction was due to be dissolved because the case was now

moot, the inmate still was a prevailing party under section 1988. Id. The Eleventh

Circuit set out the common-sense principle that “[w]hen plaintiffs clearly succeeded

in obtaining the relief sought before the district court and an intervening event

rendered the case moot on appeal, plaintiffs are still ‘prevailing parties’ for the

purposes of attorney’s fees for the district court litigation.” Id. (quoting Diffenderfer

v. Gomez–Colon, 587 F.3d 445, 454 (1st Cir. 2009)). The Eleventh Circuit adhered

to a similar principle in Common Cause/Georgia v. Billups, where it held that

plaintiffs qualified as prevailing parties under section 1988 after they won a

preliminary injunction that “remained effective until Georgia repealed the law at

issue.” 554 F.3d 1340, 1356 (11th Cir. 2009).

      Under this framework, Plaintiffs are prevailing parties for their challenge to

the Registration Disclaimer provision. Just like the plaintiff in Thomas, Plaintiffs

won a permanent injunction at the district court level that was mooted on appeal.


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And while the Eleventh Circuit in Common Cause/Georgia didn’t address the effect

of Munsingwear vacatur on prevailing party status directly, there is one

straightforward takeaway from the case that’s applicable here—an injunction won at

the district court level but later mooted by legislative repeal still entitles the plaintiffs

to prevailing party status under section 1988. This Court sees no reason to depart

from this principle here. Plaintiffs won a permanent injunction that was mooted on

appeal only because the Florida Legislature repealed an unconstitutional law.

Defendants can no longer enforce the Registration Disclaimer provision against

Plaintiffs. On these facts, that’s a material alteration of the legal relationship of the

parties. See Tex. State Teachers Ass’n, 489 U.S. at 792–93.

       The Secretary and Attorney General cite several cases to argue that Plaintiffs

won only a transient victory, but those cases don’t help them. One case, Sole v.

Wyner, involved a plaintiff who won a preliminary injunction only to be denied a

permanent injunction later in the case. 551 U.S. 74, 83 (2007). The Supreme Court

in Sole held only that “[p]revailing party status . . . does not attend achievement of a

preliminary injunction that is reversed, dissolved, or otherwise undone by the final

decision in the same case.” Id. That’s not what happened here. Plaintiffs won a

permanent injunction which prevented Defendants from enforcing the Registration

Disclaimer provision, a victory made equally permanent when the Florida

Legislature repealed the law. The fact that Plaintiffs no longer have an active


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injunction (because the challenged provision no longer exists) doesn’t take away

from the fact that they achieved a material, enduring legal change—Defendants

cannot enforce the Registration Disclaimer provision against them.

       The Secretary and Attorney General also rely on Judge Oldham’s lone

concurrence in the Fifth Circuit’s en banc decision in Thomas v. Reeves, 961 F.3d

800, 827 (5th Cir. 2020), but that opinion is not persuasive.1 The concurrence focuses

on the technical effect of an injunction to determine prevailing party status, but that’s

not the standard to determine prevailing party status. See Sole, 551 U.S. at 86

(looking to whether the litigant achieved an “enduring ‘chang[e][in] the legal

relationship’ between herself and the state officials she sued” to determine prevailing

party status). Accepting Defendants’ understanding of a prevailing party would

eviscerate section 1988’s remedial effect by permitting states to litigate

unconstitutional statutes at the district court level and erase fee liability on appeal by

repealing the statute. That dog won’t hunt.

       The greater weight of authority tips in favor of Plaintiffs being prevailing

parties under section 1988 on their Registration Disclaimer provision challenge.

Accordingly, this Court finds that Plaintiffs are prevailing parties entitled to

reasonable fees and costs under section 1988 for their challenge to the Registration



       1
          As Plaintiffs aptly note, “Judge Oldham’s concurrence is not the law even of the Fifth
Circuit, let alone the law of the Eleventh Circuit.” ECF No. 781 at 3.

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Disclaimer provision.

                                                III

       Next, Plaintiffs’ request to collect attorneys’ fees and costs from the Secretary

in his role as an intervenor on the Solicitation Definition challenge. 2 Start with the

relevant text of 42 U.S.C. 1988(b). It reads, “In any action or proceeding to enforce

a provision of [section 1983], the court, in its discretion, may allow the prevailing

party, other than the United States, a reasonable attorney’s fee as part of the costs . .

. .” 42 U.S.C.A. § 1988(b). The statute gives this Court discretion to award fees and

costs. The statute does not limit attorney fee liability to named parties nor does it

expressly exclude intervenors. The Supreme Court has explained that, generally, “the

logical place to look for recovery of fees is to the losing party—the party legally

responsible for relief on the merits.” Kentucky v. Graham, 473 U.S. 159, 164 (1985).

       The necessary connection between merits liability and fee liability, however,

can extend to intervenors. In Mallory v. Harkness, the district court held that

Florida’s Attorney General was liable for fees under section 1988 where he had

voluntarily intervened in a challenge to a state law because the Attorney General

acted as the representative of the state. 923 F. Supp. 1546, 1553 (S.D. Fla. 1996),

aff’d, 109 F.3d 771 (11th Cir. 1997). There, the named defendants and actual


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         The Secretary does not dispute that Plaintiffs are prevailing parties entitled to some fees
and costs for their challenge to the Solicitation Definition—instead, he disputes whether his office
should be the one to pay for them.
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enforcers of the challenged law declined to defend it in court, so the Attorney

General stepped in and “took all steps ordinarily taken by a defendant and, in fact,

acted as the defendant . . . .” Mallory, 923 F. Supp. at 1553. The district court in

Mallory explained that the Attorney General, as the state’s representative, was

culpable for the plaintiff’s civil rights violation because the “state enacted, enforced,

and defended the unconstitutional statute.” Id. “The state should not be allowed to

require the [named defendant] to enforce an unconstitutional statute, defend that

statute on the merits as an intervenor in federal court, and then attempt to use its

intervenor status to escape liability for attorney’s fees.” Id. “Allowing such a

loophole violates the policy behind 42 U.S.C. § 1988.” Id.

       While Mallory is not binding on this Court, 3 it is persuasive. And, given its

affirmance by the Eleventh Circuit, it’s also the best indication of what the law is in

this Circuit. Further, several other circuits have acknowledged that state intervenors

stepping in for other state actors may bear fee liability under section 1988. See

Planned Parenthood of Cent. N.J. v. Att’y Gen. of State of N.J., 297 F.3d 253, 264

(3d Cir. 2002) (holding that state legislature is liable for fees under section 1988

where, notwithstanding its legislative immunity, it intervened to defend a suit that




       3
         While Plaintiffs insist that a summary affirmance like Mallory can still be binding
precedent, they miss a crucial point. The Eleventh Circuit designated its Mallory decision as
“unpublished” under U.S. Ct. of App. 11th Cir. Rule 36-2, which means that it is not binding
precedent.
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state executive officials refused to defend); Brat v. Personhuballah, 883 F.3d 475,

484 (4th Cir. 2018) (noting that where “the intervening party was a representative of

the State responsible for enacting or enforcing the challenged statute, not an

independent third party who could not be charged with liability,” section 1988 fee

liability may attach). In plain terms, a state actor that intervenes in place of another

state actor is sufficiently connected to the underlying constitutional violation for

section 1988 fee liability to attach because, at the end of the day, the state itself is

the culpable party.

      That’s the case here. As the Secretary made clear before this Court in its

motion to intervene, see ECF No. 337-1—as well as before the Eleventh Circuit, see

Secretary’s Reply Brief, 2022 WL 4078872, at *8—he has an interest in the

continued enforceability of election law, even when those laws are enforced by

county-level supervisors. The Secretary has this interest because he represents the

State of Florida in election-related matters. ECF No. 337-1 at 7. And as the district

court in Mallory explained, a state intervenor like the Secretary “should not be

allowed to require [a different state actor] to enforce an unconstitutional statute,

defend that statute on the merits as an intervenor in federal court, and then attempt

to use its intervenor status to escape liability for attorney’s fees.” 923 F. Supp. at

1553. Permitting this type of end-run-around defeats section 1988’s policy of

compensating prevailing plaintiffs for the costs of bringing a suit to vindicate their


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constitutional rights.

       The Secretary attempts to invoke the Supreme Court’s decision in

Independent Federation of Flight Attendants v. Zipes, 491 U.S. 754 (1989) as a

shield from fee liability here, but he fails. In Zipes, the Supreme Court held that a

blameless intervenor could be held liable for fees “only where the intervenors’ action

was frivolous, unreasonable, or without foundation.” 491 U.S. at 761.4 But unlike

the intervenor in Zipes, the Secretary is not “blameless.” The intervenor in Zipes

bore no connection to the underlying civil rights violation in the lawsuit. Here, the

Secretary is the representative of the State of Florida, which is the culpable party in

this case because it “enacted, enforced, and defended the unconstitutional statute,”

leading to the violation of Plaintiffs’ civil rights. See Mallory, 923 F. Supp. at 1553.

       While the Secretary cites the Fourth Circuit’s decision in Brat v.

Personhuballah for the proposition that Zipes applies to state intervenors like

himself, ECF No. 774 at 7, Brat didn’t say that. Brat did not involve a state actor

intervening to defend state law. Instead, the Fourth Circuit in Brat applied Zipes to

a federal legislator that intervened to defend a state law. 883 F.3d at 483. Further,

the Fourth Circuit acknowledged that where an unconstitutional statute is involved,

the ‘blameworthy’ party under Zipes is the state that enacted the statute.” Id. at 484.



       4
         While Zipes dealt with fee awards against intervenors under Title VII, the Supreme Court
noted that section 1988 should be interpreted in the same way. 491 U.S. at 758 n.2.
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Several of the other cases the Secretary cites are unpersuasive for this same reason—

they do not concern a state actor intervening to defend a state law. See Doe v. Sch.

Bd. for Santa Rosa Cnty., No. 3:08CV361/MCR/EMT, 2010 WL 11519438, at *1

(N.D. Fla. Mar. 24, 2010) (applying Zipes to a non-state intervenor); Miller v. Moore,

169 F.3d 1119, 1126 (8th Cir. 1999) (same); Costco Wholesale Corp. v. Hoen, 538

F.3d 1128, 1133 (9th Cir. 2008) (same). And while the district court in Stout v.

Jefferson County Board of Education did apply Zipes to a state intervenor, it did so

on agreement by the parties. No. 2:65-CV-00396-MHH, 2019 WL 7811389, at *19

(N.D. Ala. Dec. 23, 2019).

        In short, the Secretary cannot duck section 1988 by insisting that he’s not the

proper party for this suit only to rejoin later as an intervenor. Accepting the

Secretary’s argument would eviscerate the purpose of section 1988—to compensate

parties that prevail in stopping state actors from violating their constitutional rights.

If the Secretary doesn’t want to risk being on the hook for fees under section 1988,

he could have accepted his dismissal for lack of standing—one that he specifically

asked for—and deferred to the Supervisors’ decision to refuse to defend this

unconstitutional provision. 5 Instead, the Secretary came back into this case to defend


        5
         Of course, this Court is left in the strange position of discussing fee liability for a properly
admitted intervenor that somehow lacks Article III standing because of the standing framework
created by the Eleventh Circuit in Jacobson v. Florida Secretary of State, 974 F.3d 1236, 1253
(11th Cir. 2020). Under this framework, Plaintiffs must sue nominal defendants in the Supervisors
who, largely, did not ask for SB 90 and did not defend the Solicitation Definition. But these
“independent” constitutional officers’ decisions to abandon this unconstitutional provision is also
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another unconstitutional law from the State of Florida. On these facts, the Secretary

is liable for fees and costs for Plaintiffs’ Solicitation Definition challenge under

section 1988.

                                                IV

       As set out above, Plaintiffs are prevailing parties under section 1988 for their

challenges to SB 90’s Registration Disclaimer provision and its Solicitation

Definition. The Secretary and Attorney General are liable for Plaintiffs’ attorneys’

fees, expert fees, and litigation expenses for their challenge to the Registration

Disclaimer provision. The Secretary is also liable for Plaintiffs’ attorneys’ fees,

expert fees, and litigation expenses for their challenge to the Solicitation Definition.

Accordingly, Plaintiffs’ motion to determine entitlement to fees, ECF No. 770, is

GRANTED. The parties shall now follow the procedure set out in Local Rule




sufficient to trigger the Secretary’s interest to intervene to defend Florida’s election laws. After
all, the Secretary is Florida’s chief election officer, tasked with maintaining uniformity in the
enforcement of election laws. It’s enough of a connection to the challenged statute for the Secretary
to be properly named as a defendant under Ex parte Young. But binding Eleventh Circuit precedent
dictates that it just isn’t enough for a “case or controversy” under Article III. Perhaps this
framework also permits the Secretary to have his cake and eat it too by hiding behind the
Supervisors while still defending laws he claims not to enforce all the while avoiding fee liability
under section 1988. It’s not like this money all comes from the same place—the Supervisors
maintain a budget derived from county-level funds separate from the Secretary’s budget that would
be used to pay for a prevailing party’s fees. If that’s the case, the Eleventh Circuit can make that
clear. But that’s not how this Court understands the law.
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54.1(E)–(G) to determine the amount of fees and costs due here.

      SO ORDERED on May 23, 2024.
                                     s/Mark E. Walker
                                     Chief United States District Judge




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